Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 1 of 13




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-00337-WJM-KMT:

   CHRISTOPHER P. SWEENEY, and NIKOLE M. SWEENEY,

   Plaintiffs,

   vs.

   CITY OF COLORADO SPRINGS, COLORADO,
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC,

   Defendants.
   _______________________________________________________________________________

     DEFENDANTS STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC. AND
   DIVERSIFIED PROPERTY MANAGEMENT, LLC’S MOTION TO DISMISS PURSUANT TO
                                 FED. R. CIV. P. 12(b)(6)
   _______________________________________________________________________________

           Defendants, Stetson Hills Master Home Owners Association, Inc. and Diversified

   Property Management, LLC, by and through their attorneys, Karen Wheeler, Brian Waters and

   Jami Maul of the firm Wheeler Waters, Professional Corporation, hereby submit their Renewed

   Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) and state as follows:

            Statement of Conferral Pursuant to WJM Revised Practice Standard III.D.1

           Defense counsel conferred with Plaintiffs’ counsel regarding the issues raised in this motion

   through email and on a March 12, 2018 telephone conference. At that time, Plaintiffs’ counsel

   indicated he intended to file an Amended Complaint that may address some of the issues raised by

   the Defendants with respect to insufficient factual support for the allegations in the Complaint, but

   agreed that likely some of the issues were legal issues for the Court that would not be resolved by
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 2 of 13




   the Amended Complaint. After review of Plaintiffs’ First Amended Complaint, it is Stetson Hills

   and Diversified’s position that the dispositive issues raised below were not cured by the

   amendments as they are primarily legal issues. Defense counsel again followed up with Plaintiffs’

   counsel regarding these issues on April 10, 2018, and was informed that Plaintiffs remain opposed

   to this motion.

                                              Introduction

           Plaintiffs Christopher Sweeney and Nikole Sweeney filed this lawsuit against the City of

   Colorado Springs, Stetson Hills Master Home Owners Association, Inc and Diversified Property

   Management, LLC. Plaintiffs seek to force the HOA and property manager to force homeowners

   to park their cars on the street. However, there is no allegation the HOA owns or controls the

   streets and no allegation the HOA owns or controls the sidewalks. Although the lack of a factual

   allegation is sufficient to sustain this motion, Plaintiffs allege that the City of Colorado Springs

   (not the HOA) owns and controls the sidewalks and streets. See First Amended Complaint and

   Jury Demand at ¶¶ 21, 73, 97, 100, 136, 143, 157, and 159. In addition, this Court can also take

   judicial notice that the City of Colorado Springs owns both the streets and sidewalks. As a result,

   Plaintiffs’ claims fail.

           Plaintiffs’ sole claim against Defendants Stetson Hills Master Home Owners Association,

   Inc. (hereinafter “Stetson Hills”) and Diversified Property Management, LLC (hereinafter

   “Diversified”) is a claim made pursuant to 42 U.S.C. § 3601, the Fair Housing Act. See First

   Amended Complaint and Jury Demand, pp. 27-28, Seventh Claim, ¶¶ 162-173. This Court

   must dismiss that claim because Plaintiffs fail to state a cognizable claim pursuant to the Fair



                                                    2
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 3 of 13




   Housing Act. Plaintiffs base their claim on an allegation that Stetson Hills and Diversified failed

   to make a requested reasonable accommodation for Mr. Sweeney’s disability.1 However, based

   on applicable law and the allegations in the Complaint, there is no legal basis for any

   accommodation pursuant to the Fair Housing Act. Plaintiffs’ allegations do not and cannot meet

   the statutory requirement of a failure to provide a reasonable accommodation “necessary to

   afford [a disabled] person equal opportunity to use and enjoy a dwelling.” 42 U.S.C. §

   3604(f)(3)(B). Moreover, Plaintiffs allege in the Complaint the sidewalks in question are city-

   controlled. There is no allegation or basis to allege Stetson Hills and Diversified could enforce

   any requirements over property they do not control. For these reasons, set forth in more detail

   below, Plaintiffs’ Complaint, as amended, against Stetson Hills and Diversified must be

   dismissed in its entirety.

                                      Authorities and Argument

           A.      A Complaint must contain sufficient factual allegations to raise a right to

   relief above a speculative level and state a claim to relief that is plausible on its face.

           A motion to dismiss made pursuant to Fed.R.Civ.P. 12(b)(6) for failure to state a claim

   must be granted unless the complaint includes “enough facts to state a claim to relief that is

   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007). In order to survive

   a motion to dismiss, “the factual allegations of the complaint must be enough to raise a right to


   1  Defendants understand the Court must accept Plaintiffs’ specific factual allegations pleaded in
   the Complaint as true when evaluating this motion to dismiss. Nonetheless, Defendants dispute
   many of the allegations in the Complaint, including disputing that the Plaintiffs ever actually
   made the request on which they base their claim and they dispute that the Plaintiffs are members
   of the HOA as they claim. Defendants are not asking the Court to consider these disputed facts at
   this time as they do not wish to convert this motion to a motion for summary judgment.

                                                    3
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 4 of 13




   relief “above the speculative level” and a plaintiff must “provide the grounds of his entitlement

   to relief.” Id. at 555 (internal citations omitted). “Only a complaint that states a plausible claim

   for relief survives a motion to dismiss” and therefore, “a complaint must contain sufficient

   factual matter, accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft

   v. Iqbal, 556 U.S. 662, 678-79 (2009) (quoting Twombly, 550 U.S at 570). “A plaintiff's

   obligation to provide the grounds of his entitlement to relief requires more than labels and

   conclusions, and a formulaic recitation of a cause of action's elements will not do.” Bell Atl.

   Corp. v. Twombly, 550 U.S. at 555 (internal citations omitted). In reviewing the motion, the

   Court must accept all well-pleaded allegations in the complaint as true and construe them in

   favor of the non-moving party. Williams v. Meese, 926 F.2d 994, 997 (10th Cir. 1991). While

   generally the Court cannot consider materials outside the complaint without converting the

   motion to a motion for summary judgment, the Court may consider “documents referred to in the

   complaint if the documents are central to the plaintiff’s claim and the parties do not dispute the

   documents’ authenticity.” Alvarado v. KOB-TV, LLC, 493 F.3d 1210, 1215 (10th Cir. 2007).

          B.      The allegations in Plaintiffs’ Complaint do not give rise to a claim under the

   Fair Housing Act for a failure to provide a reasonable accommodation.

          According to the Complaint, Plaintiffs base their Fair Housing Act claim on an allegation

   that Stetson Hills and Diversified failed to provide a requested accommodation for Mr.

   Sweeney’s disability. See First Amended Complaint at ¶¶ 170-173. “A reasonable

   accommodation is required whenever it ‘may be necessary to afford [a disabled] person equal

   opportunity to use and enjoy a dwelling.’” Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint

   George City, 685 F.3d 917, 923 (10th Cir. 2012) citing 42 U.S.C. § 3604(f)(3)(B). To state a

                                                      4
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 5 of 13




   claim of discrimination under the FHA for failure to accommodate, a plaintiff must show: (1)

   that the plaintiff or his associate is handicapped as defined by the FHA; (2) that the defendant

   knew or reasonably should have known of the claimed handicap; (3) that accommodation of the

   handicap may be necessary to afford the handicapped person an equal opportunity to use and

   enjoy the dwelling; (4) that the accommodation is reasonable; and (5) that defendants refused to

   make such accommodation. Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d 1177, 1183

   (D. Colo. 2016). The Fair Housing Act may require an accommodation if the accommodation is

   necessary, i.e. indispensable or essential, in order for a disabled person to achieve an objective of

   equal housing opportunities to those that are not disabled. Cinnamon Hills Youth Crisis Ctr., Inc.

   v. Saint George City, 685 F.3d 917, 923 (10th Cir. 2012). “When there is no comparable housing

   opportunity for non-disabled people, the failure to create an opportunity for disabled people

   cannot be called necessary to achieve equality of opportunity in any sense.” Cinnamon Hills

   Youth Crisis Ctr., Inc. v. Saint George City, 685 F.3d 917, 923 (10th Cir. 2012) Here, Plaintiffs

   largely relied on conclusions reciting the elements of the claim, which the U.S. Supreme Court

   has expressly held is not sufficient in order for a complaint to survive a motion to dismiss the

   claim. See Ashcroft v. Iqbal, 556 U.S. at 678-79; Bell Atl. Corp. v. Twombly, 550 U.S. at 555.

   Thus, Plaintiffs’ claims fail as a matter of law.

                  1.      Based on the allegations in the First Amended Complaint, the

                          “accommodation” in question is not reasonable as a matter of law.

          Based on the allegations in the Complaint, Plaintiffs’ request is not a request for a

   reasonable accommodation as provided by the Fair Housing Act. Plaintiffs’ claims cannot

   survive a motion to dismiss simply by claiming that Mr. Sweeney’s requested accommodation is


                                                       5
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 6 of 13




   reasonable and making conclusory statements that it would not impose any undue financial or

   administrative burdens, or require fundamental alterations. “An accommodation is reasonable

   under the FHA when it imposes no fundamental alteration in the nature of the program or undue

   financial or administrative burdens.” Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d

   1177, 1185–86 (D. Colo. 2016) citing Giebeler v. M & B Associates, 343 F.3d 114, 1157 (9th Cir.

   2003). An accommodation is not reasonable if it requires “changes, adjustment, or modifications

   that would be substantial, or that would constitute fundamental alterations.” Alexander v. Choate,

   469 U.S. 287, 300 fn.20 (1985) (internal citations omitted).

          First, Plaintiffs have made no allegation that the HOA owns or has any ability to control

   the sidewalks or streets in question, and in fact alleges that the sidewalks and streets are owned

   and controlled by the City of Colorado Springs. As Plaintiffs allege, there is already a city

   ordinance in place to prevent parking a vehicle so to block a sidewalk. See First Amended

   Complaint at ¶¶ 12, 66. Plaintiffs correctly allege that the City of Colorado Springs owns and

   controls the sidewalks and streets. See First Amended Complaint and Jury Demand at ¶¶21,

   73, 97, 100, 136, 143, 157, and 159. This Court can also take judicial notice that the City of

   Colorado Springs owns both the streets and sidewalks. Additionally, Plaintiffs actually allege

   they made efforts to enlist the city to enforce the ordinance. See First Amended Complaint at ¶¶

   63-74. However, Plaintiffs fail to allege any ability of Stetson Hills or Diversified to otherwise

   exercise control over city-controlled sidewalks. In other words, it is one thing to argue the HOA

   has power to require something be done or not done on property within the HOA’s control (park

   on private property). However, there is no allegation or basis for the proposition that the HOA

   has control over the residents such that it could force them to park in the street. To require that


                                                   6
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 7 of 13




   private Defendants essentially enforce a city ordinance on Plaintiffs’ behalf would be

   unreasonable and should not be required. Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp.

   3d 1177, 1185–86 (D. Colo. 2016) citing Giebeler v. M & B Associates, 343 F.3d 114, 1157 (9th

   Cir. 2003).

          Even if Stetson Hills or Diversified had some ability to control the streets or sidewalks,

   based on the Plaintiffs’ own allegations, the request is still unreasonable as a matter of law. Mr.

   Sweeney’s alleged request for an accommodation is not a request simply that he be permitted to

   do something contrary to the HOA’s policies because of his disability. Rather, his request is that

   the HOA rules be changed so that every other member of the HOA be required to do something

   differently than is otherwise provided for under the policies. See First Amended Complaint at ¶

   170. Based on Plaintiff’s own allegations, residents are currently required/encouraged to park

   their vehicles in their driveways. See First Amended Complaint at ¶ 37. Plaintiffs indicate their

   request is that residents be required to do the exact opposite of what they claim is the current

   policy. In other words, the demand is that these defendants prohibit all residents from parking in

   their own driveways and instead force them to park in the street. By joining Stetson Hills and

   Diversified to this matter, Plaintiffs seek to force these private Defendants to enforce a city

   ordinance through new covenants, changes in otherwise discretionary inspection means and

   methods, and use of otherwise discretionary enforcement.        As a practical matter, such relief

   could lead to an obligation on the part of these Defendants to fine homeowners or tow a non-

   compliant vehicle from the owner’s property. In other words, Plaintiffs’ requested relief seeks to

   force not just a substantial change in covenants, but would also impact how and when the HOA

   enforces its covenants as a means to force an HOA to enforce a city ordinance.


                                                   7
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 8 of 13




          Plaintiffs’ conclusory statements that this accommodation is reasonable do not satisfy

   federal pleading requirements and fail as a matter of law. See Complaint at ¶¶ 62, 171. The U.S.

   Supreme Court has held, unequivocally, that conclusory statements such as these cannot satisfy

   the pleading standard required to survive a motion to dismiss. See Bell Atl. Corp. v. Twombly,

   550 U.S. at 555. This is particularly important here, where it is clear based on Plaintiffs’

   allegations themselves that a request that every other member of a community be required to do

   the opposite of the current rules and thus prohibit every community member from parking on his

   or her own property clearly is a fundamental and substantial alteration and an undue burden, and

   therefore not a reasonable request as a matter of law. See Alexander v. Choate, 469 U.S. at 300

   fn.20; Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d at 1185–86.

                  2.     Based on the allegations in the First Amended Complaint, the

                         “accommodation” in question is not necessary to provide an equal

                         opportunity.

          Additionally, Plaintiffs failed to sufficiently allege any factual basis as to why this

   requested “accommodation” is necessary to provide Mr. Sweeney an equal opportunity to enjoy

   his dwelling. They simply restate this element of the claim and indicate that it is necessary. See

   First Amended Complaint and Jury Demand at ¶ 170. Although Plaintiffs do include

   allegations in their amended complaint that Mr. Sweeney cannot use the sidewalks, nowhere in

   their complaint do Plaintiffs allege that requiring other members of the community to park on the

   street is necessary to even the playing field between Mr. Sweeney and others who do not have a

   disability. Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint George City, 685 F.3d 917, 923 (10th

   Cir. 2012). If the allegations in the Complaint and the photograph in the Complaint are to be


                                                   8
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 9 of 13




   accepted as true, the sidewalks that pass through the driveways in the neighborhood would be

   blocked for every individual wanting to use the sidewalk, not just Mr. Sweeney. See First

   Amended Complaint, p. 8 at ¶ 35 and photograph at bottom of page. If the sidewalk is blocked,

   it is blocked not only for him but for all, whether on foot, pushing a stroller or riding a bike.

          Although Mr. Sweeney states that his inability to use the sidewalks is unique to a person

   who has a disability, he fails to explain how a person without a disability would be able to use

   the sidewalks if they are in fact blocked, in violation of city ordinance, as he claims. See First

   Amended Complaint and Jury Demand, ¶ 41. Although Mr. Sweeney also makes statements

   as to events that he claims to be unable to attend because he cannot use the sidewalk to get there,

   again he fails to state why the inability to use the sidewalk would be any different for him than

   for any other person attempting to use the sidewalk to get to the event. “An accommodation is

   necessary when there is evidence showing that the desired accommodation will affirmatively

   enhance a disabled plaintiff's quality of life by ameliorating the effects of the disability.” Arnal v.

   Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d 1177, 1185 (D. Colo. 2016). Indeed, Mr.

   Sweeney has not alleged anywhere in his Complaint that whether he is able to use the sidewalks

   of the neighborhood has any effect on his disability or his ability to enjoy his dwelling in the

   same way as those who do not have the same disability.

          An accommodation cannot be necessary pursuant to the Fair Housing Act where it

   requests an opportunity for disabled people where there is not a comparable housing opportunity

   for those that are not disabled. See Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint George City,

   685 F.3d 917, 923 (10th Cir. 2012). Here, if Plaintiffs’ allegations are to be accepted as true,

   alleged city ordinance violations by individual vehicle owners makes it so no individuals can use


                                                     9
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 10 of 13




   the sidewalks in the neighborhood, not just those who are disabled. Therefore, there can be no

   discrimination based on a disability under the Fair Housing Act. Moreover, Plaintiffs have not

   pleaded any specific allegations as to how using the sidewalks will ameliorate the effects of Mr.

   Sweeney’s disability.

                                               Conclusion

          Plaintiffs’ Complaint against Stetson Hills and Diversified must be dismissed because

   there is no cognizable discrimination claim against them pursuant to the Fair Housing Act.

   Plaintiffs fail to support their claims with the requisite factual allegations that raise their claims

   above a speculative level. Specifically, Plaintiffs’ claims fail because as a matter of law, the

   requested accommodation is not necessary or reasonable. Further, these Defendants have no

   ability to enact the requirement Plaintiffs allege they requested.

          WHEREFORE, Stetson Hills Master Home Owners Association, Inc. and Diversified

   Property Management, LLC respectfully request that this Court enter an Order GRANTING this

   Motion to Dismiss, and dismiss Plaintiffs’ Complaint, as amended, against them in its entirely.




   Dated: April 11, 2018.




                                                    10
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 11 of 13




                                     Respectfully submitted,


                                     s/ Karen H. Wheeler
                                     Karen H. Wheeler
                                     Wheeler Waters, P.C.
                                     8400 E. Prentice Ave., Suite 1010
                                     Greenwood Village, Colorado 80111
                                     Telephone: (303) 221-4787
                                     Karen@wheelerwaters.com

                                     Attorneys for Defendants Stetson Hills
                                     Master Home Owners Association, Inc. and
                                     Diversified Property Management, LLC




                                       11
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 12 of 13




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-00337-WJM-KMT:

   CHRISTOPHER P. SWEENEY, and NIKOLE M. SWEENEY,

   Plaintiffs,

   vs.

   CITY OF COLORADO SPRINGS, COLORADO;
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC.; and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC,

   Defendants.
   _______________________________________________________________________________

                             CERTIFICATE OF SERVICE
   _______________________________________________________________________________

           I hereby certify that on April 11, 2018, I electronically filed the foregoing DEFENDANTS

   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC. AND DIVERSIFIED

   PROPERTY MANAGEMENT, LLC’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.

   12(b)(6) with the Clerk of Court for filing and uploading to the CM/ECF system which will send

   notification of such filing to the following e-mail addresses:

   Julian G.G. Wolfson, Esq.
   Law Office of Julian G.G. Wolfson, LLC
   1630 Welton Street # 413
   Denver, CO 80202
   T: 720-507-5133
   jwolfsonlaw@gmail.com

   Attorney for Plaintiff




                                                     12
Case 1:18-cv-00337-WJM-KMT Document 23 Filed 04/11/18 USDC Colorado Page 13 of 13




   Tracy Lessig, Esq.
   Lindsay Rose, Esq.
   30 S. Nevada Ave., Suite 501
   Colorado Springs, Colorado 80903
   Telephone: (719) 385-5909
   Facsimile: (719) 385-5535
   tlessig@springsgov.com
   lrose@springsgov.com

   Attorneys for Defendant City of Colorado Springs


                                                      s/ Karen H. Wheeler
                                                      Karen H. Wheeler




                                                13
